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                                                                                                                          2019 Aug-06 PM 02:49
                                                                                                                          U.S. DISTRICT COURT
                                                                                                                              N.D. OF ALABAMA
AO 91 (Rev. 11/11) Criminal Complaint



                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Northern District of Alabama

                  United States of America                          )
                                v.                                  )
                                                                    )      Case No.
         Arkeuntrez Kenyez Lareco Washington
                                                                    )
                                                                    )


                          Defendant(<;)
                                                                    )
                                                                    )                                                     29
                                                  CRIMINAL COMPLAINT
          L the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              Nov. 21, 2018 to July 6, 2019      in the county of              Jefferson
                                                                                                             ------
                                                                                                                    in the
     Northern          District of             Alabama          , the defendant(s) violated:

             Code Section                                                     Offense Description
18 U.S.C. § 922(a)(1 )(A)                        Dealing in Firearms Without a License
18 U.S.C. § 922(a)(6)                            False Statement to a Firearms Dealer




          This criminal complaint is based on these facts:

See attached affidavit.




          mContinued on the attached sheet.
                                                                            trrrcr/A~~         Complainant's signature

                                                                                      ATF Special Agent Gabriel Brooks
                                                                                                Printed na,ne and title


Sworn to before me and signed in my presence.


Date:                                                                       ---""-·--------                 -------···           --
                                                                                                  Judge's signature


City and state:                           Birmingham, AL                            Chief U.S. Magistrate Judge John E. Ott
                                                                                                                           ----
                                                                                                Printed name and title
           AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

      I, Special Agent Gabriel Brooks, being duly sworn, depose and say:

                         Introduction and Agent Background

      1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives ("ATF"), assigned to the Nashville Field Division, Birmingham

Field Office, Group I. I have been a Special Agent with ATF since 2009; prior to

that, I was employed by the Baltimore Police Department for approximately 10

years, during which I served as a Sergeant, Detective, and a police officer. As an

ATF Special Agent, one of my principal assignments is to investigate violations of

federal firearms laws.

      2.     I am a graduate of the Criminal Investigator Training Program

("CITP") and the ATF National Academy, both located at the Federal Law

Enforcement Training Center in Glynco, Georgia.        I have received specialized

training in investigative and surveillance techniques, as well as in firearms

trafficking, drug trafficking, arson investigations, and explosives investigations. I

have also received extensive training regarding violations of federal law, including

federal firearms offenses.

      3.     I submit this affidavit in support of a criminal complaint charging

Arkeuntrez    Kenyez      Lareco   WASHINGTON         with   violating   18   U.S.C.




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§ 922(a)(l)(A) (dealing in firearms without a license) and 922(a)(6) (false statement

to a firearms dealer).

      4.       The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

This affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not contain all of the information I know about this

matter.

                                 Statutory Authority

       5.      18 U.S.C. § 922(a)(l)(A) makes it a crime for a person to willfully

engage in the business of importing, manufacturing, or dealing in firearms, or in the

course of such business to ship, transport, or receive any firearm in interstate or

foreign commerce, unless that person is a licensed importer, manufacturer, or dealer

of firearms.

       6.      18 U.S.C. § 922(a)(6) makes it a crime for a person, in connection with

the acquisition or attempted acquisition of a firearm or ammunition from a licensed

importer, manufacturer, dealer, or collector of firearms, to knowingly make a

materially false or fictitious statement that is intended or likely to deceive the seller

about the lawfulness of the sale.




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                               Probable Cause

      7.     On or about July 11, 2019, an ATP Special Agent reviewed recent

"Firearms Multiple Sales" reports associated with Arkeuntrez Kenyez Lareco

WASHINGTON. By way of background, a Multiple Sales report is generated if a

person purchases two or more firearms from a Federal Firearms Licensee ("FPL")

within a five-day period.   The reports stated that WASHINGTON purchased

multiple firearms between June 20, 2019 and July 3, 2019, at Hoover Tactical

Firearms, an FFL in Birmingham, Alabama.

      8.     According to the reports, on June 20, 2019, WASHINGTON purchased

three firearms:

             a.   an American Tactical Inc. ("ATI") Omni Hybrid Maxx, 5.56

                  caliber AR-type pistol (serial number NS207521 );

             b.   an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                  number NS207271); and

             c.   an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                  number NS207630).

      9.     According to the reports, on July 3, 2019, WASHINGTON purchased

five firearms:

             a.   an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                  number NS207306);



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             b.    an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                   number NS207304);

             c.    an ATI Omni Hybrid Maxx, .300 blackout caliber AR-type pistol

                   (serial number NS208519);

             d.    an ATI Omni Hybrid Maxx, .300 caliber AR-type pistol (serial

                   number NS208724); and

             e.    a Phoenix Arms Co. HP25A, .25 caliber semi-automatic pistol

                   (serial number 4548397).

      10.    On July 11, 2019, ATF agents obtained surveillance footage and ATF

Form 4473 Firearms Transaction Records ("FTRs") from Hoover Tactical Firearms.

In accordance with FFL rules and federal law, the FTRs were completed by

WASHINGTON at Hoover Tactical Firearms. While obtaining these records, a

manager for Hoover Tactical Firearms stated that WASHINGTON used the

company to complete online firearms purchases from a company called "Prepper

Gun Shop." (In order to purchase a firearm online, a purchaser must submit an FTR

to a local federally licensed firearms dealer, and the local dealer must handle the

physical transfer of the firearm to the purchaser.) ATF also identified two additional

purchases by WASHINGTON, on May 24, 2019 and June 14, 2019:

             a.    an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                   number NS207639); and



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            b.    an ATI Omni Hybrid Maxx, 5.56 caliber AR-type pistol (serial

                  number NS20764 7).

      11.   Hoover Tactical Firearms surveillance footage for July 3, 2019 shows

WASHINGTON purchasing firearms, accompanied by at least one other person.

      12.   Further investigation revealed that WASHINGTON also purchased

firearms from other FFLs.    Between November 21, 2018 and June 8, 2019,

WASHINGTON purchased the following firearms from Academy Sports and

Outdoors stores in Birmingham and Hoover, Alabama:

            a.    a Taurus G2C, 9mm pistol (serial number TLX48532);

            b.    a Taurus G2C, 9mm pistol (serial number TMB41656);

            c.    a Taurus G2C, 9mm pistol (serial number TL Y96006);

            d.    a Taurus G2C, 9mm pistol (serial number TMR70339); and

            e.    a Taurus G2C, 9mm pistol (serial number TMD66488).

      13.   On March 7, 2019, WASHINGTON purchased a Taurus G2C, 9mm

pistol (serial number TLX56520) from Birmingham Pistol Parlor.

      14.   Between June 3, 2016 and June 23, 2016, WASHINGTON purchased

the following firearms from Academy Sports and Outdoors in Hoover, Alabama:

            a.    a Savage Steven Arms ("SSA") Sun City Machinery Model 320,

                  12 gauge shotgun (serial number 167108A);




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            b.    a Savage Steven Arms ("SSA") Sun City Machinery Model 320,

                   12 gauge shotgun (serial number 168793A); and

            c.     a Savage Steven Arms ("SSA") Sun City Machinery Model 320,

                   12 gauge shotgun (serial number 169234A).

      15.   On or about September 26, 2016, a person who appears to be an

associate of WASHINGTON's sold the SSA Sun City Machinery Model 320, 12

gauge shotgun (serial number 168793A) to Birmingham FFL Golden Pawn and

Jewelry. This sale occurred approximately three months after WASHINGTON

purchased the firearm.

      16.   As detailed above, WASHINGTON has purchased at least six Taurus

G2C, 9mm caliber pistols in the Birmingham area since November 21, 2018.

WASIBNGTON also has purchased at least nine ATI Omni Hybrid, AR-style pistols

in the Birmingham area since May 24, 2019. According to WASHINGTON, the

ATI Omni Hybrid firearms were purchased for approximately $369 each. Agents

later discovered that WASHINGTON advertised at least two ATI Omni Hybrid, AR-

style pistols for $500 each on Armslist.com ("Armslist"), an online marketplace for

firearms.

      17.    On July 12, 2019, ATF agents and I tried to interview WASHINGTON

about his purchases, in order to verify that he still possessed the firearms and was

not trafficking or dealing in them without a license. We went to 5060 Whatley



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Street, Birmingham, Alabama 35288 (the "Whatley Street residence"), the address

WASHINGTON listed on the FTRs. (Under FFL rules, a firearms purchaser must

complete Section A of the FTR, and the FFL must confirm with the purchaser that

the purchaser's address is current.) On arriving, we found that WASHINGTON did

not live at the Whatley Street residence. 1        Subsequently, we learned that

WASHINGTON resided with his grandmother at 928 4th Court West, Birmingham,

Alabama 35204 (the "4th Court West" residence).           Because WASHINGTON

repeatedly provided an address on the FTRs that is not his actual address, I

respectfully submit there is probable cause to believe that WASHINGTON violated

18 U.S.C. § 922(a)(6) (false statement to a firearms dealer).

      18.    On July 12, 2019, ATF agents interviewed WASHINGTON at the 4th

Court West residence. The agents asked WASHINGTON about his recent firearms

purchases, and asked him to verify the serial numbers related to those purchases.

WASHINGTON offered to allow the agents to inspect the firearms, and produced

four firearms: two ATI Omni Hybrid, .300 blackout caliber AR-style pistols; an ATI

Omni Hybrid, 5.56 caliber AR-style pistol; and a Phoenix Arms HP25A, .25 caliber

semi-automatic pistol. The firearms appeared to be in their original packaging.




      WASHINGTON's relative lives at the Whatley Street residence.
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WASHINGTON later told ATF agents that the residence was an old address.

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      19.    WASHINGTON claimed that he had applied for an FFL 2 and was

purchasing firearms to start a firearms training business. He stated that he wanted

to use his military background to teach civilians about firearms shooting and safety.

He also said that he did not purchased the firearms to resell them.

      20.    The agents asked WASHINGTON about the remaining firearms listed

on the Multiple Sales reports. WASHINGTON claimed that these firearms were

stored with his aunt, B.W., at her residence at 4602 Brookshire Loop, Bessemer,

Alabama 35022 (the "Brookshire residence").        WASHINGTON added that the

Brookshire residence was the location he provided on his FFL application.

      21.    WASHINGTON agreed to go with the agents to the Brookshire

residence. When the agents and WASHINGTON arrived, however, no one was

home, and WASHINGTON did not have access to the residence. WASHINGTON

provided the agents with B.W.'s telephone number, so they could arrange to inspect

the firearms at a later date. He also provided his personal cell phone number.

      22.    On July 17, 2019, an ATF agent contacted B.W. B.W. stated that the

firearms at the house belonged to WASHINGTON, and gave the agent permission

to inspect them. Upon his arrival, B.W. showed the agent three firearms, none of




       2ATF later confirmed that WASHINGTON had a pending FFL application
that was in the background check stage. The application was to become a firearms
manufacturer and dealer, and was received by ATF on or about June 27, 2019.

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which were the firearms listed in the Multiple Sales reports or the other records in

ATF's possession. These firearms were:

             a.    a Taurus PT! 11, 9mm caliber pistol (serial number TLX48532);

             b.    a Smith & Wesson M&P 15, 5.56 caliber rifle (serial number

                   TH06132); and

             c.    a Morrissey Inc. AAM-47, 7.62 caliber AK-style rifle (serial

                   number AA3-000351).

      23.    On July 17, 2019, I searched for WASHINGTON's cell phone number

on the Internet and found that it was listed as the contact number for two

advertisements on Arms list. The advertisements were posted on June 24, 2019 and

July 6, 2019, and listed for sale two AT! Omni Hybrid Maxx, AR-style pistols, in

5.56 caliber and .300 blackout caliber, respectively. According to the Multiple Sales

reports, WASHINGTON purchased these firearms on June 20, 2019 and July 3,

2019. The Armslist posts contained images of the firearms in what appeared to be

their original packaging. The firearms and packaging appeared to be identical to the

ATI Omni Hybrid Maxx, AR-style pistols and boxes that WASHINGTON showed

ATF on July 12, 2019.

      24.    On July 19, 2019, ATF agents interviewed WASHINGTON at the 4th

Court West residence. Among other things, WASHINGTON reported that his

remaining firearms were still at the Brookshire residence.          WASHINGTON



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provided the agents with contact information for his relatives, J.W. and M.W., so the

agents could verify that he still possessed the firearms.

      25.    On July 22, 2019, an ATF agent contacted J.W. by telephone. J.W.

reported that the firearms ATF observed on July 17, 2019 were the only firearms at

the Brookshire residence. J.W. could not tell the agent where the remaining firearms

were located.

      26.    On July 24, 2019, ATF agents interviewed WASHINGTON at the 4th

Court West residence. The agents told WASHINGTON that they wanted to discuss

the location of the remaining firearms listed in the Multiple Sales reports. The agents

advised WASHINGTON that they were aware of at least 15 firearms he had

purchased since 2019, and that they had identified Arms list advertisements that

listed his cell phone number under the seller's contact information. The agents asked

if WASHINGTON could produce the firearms for verification purposes, and to

prove that he was not trafficking firearms or dealing in them without a license.

       27.   Eventually, WASHINGTON said that he has trafficked firearms across

state lines and to other countries 3 since April 20, 2016. He explained that he started

trafficking firearms after watching a documentary about firearms trafficking. When




       WASHINGTON said that he has not trafficked firearms to foreign countries,
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except Mexico, since he finished military service in 2018. ATF agents subsequently
learned that WASHINGTON was stationed in Germany, and was arrested in
Birmingham for "Desertion" just prior to his discharge from the military in 2018.

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asked about the firearms listed in the Multiple Sales reports, WASHINGTON said

that his most recent firearms sales were to purchasers in California, New York, and

Mexico. WASHINGTON said that he had been contacted on a "Go-phone"-a pre-

paid cell phone that had the same number as his current cell phone-after posting

the Armslist advertisements. In my training and experience, I know that Go-phones,

or "burner" phones, are commonly used by individuals involved in narcotics and

firearms trafficking to avoid detection by law enforcement, or to prevent law

enforcement from learning the scope of their illicit conduct. For example, a firearms

trafficker may have one cell phone to call their source of supply, another to call

customers, and yet another for personal use. WASHINGTON stated that he had

discarded the Go-phone in a dumpster in the Loveman's Village Public Housing

complex in Birmingham on July 19, 2019, after ATF agents spoke with him.

WASHINGTON then led the agents to the dumpster, which was empty.

      28.    The agents continued the interview and asked WASHINGTON how he

shipped firearms to other states and countries. WASHINGTON would not identify

how he shipped firearms to foreign countries, but told the agents that he used FedEx

ground shipping, fictitious names, and no return addresses for the packages that were

sent to California and New York. WASHINGTON refused to provide the names of

the people he sold firearms to, via the Armslist postings. WASHINGTON also said




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that he had shredded his mail and parcel receipts, firearms purchase and sale

documentation, and other records after the agents contacted him on July 19, 2019.

      29.   WASHINGTON provided the agents with consent to search the cell

phones on his person, a black ZTE and an Apple iPhone. The agents observed

images of AR-style pistols in brown cardboard boxes, similar to the packaging ATF

saw at the 4th Court West residence and on Armslist. The agents also saw numerous

images of mail and parcel packages addressed to WASHINGTON, as well as

numerous messages where WASHINGTON solicited to sell firearms.               These

messages included names, images, and prices of firearms he had for sale.

      30.   Based on these facts, I respectfully submit there is probable cause to

establish that Arkeuntrez Kenyez Lareco WASHINGTON violated 18 U.S.C.

§ 922(a)(l)(A) and 922(a)(6).



                                 Gabriel Brooks
                                 Special Agent
                                 Bureau of Alcohol, Tobacco, Firearms, and
                                 Explosives


 Sworn to and subscribed before me on August    !,/!( ,   2019.




                         John E. Ott
                         Chief United States Magistrate Judge
                         Northern District of Alabama



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